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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 DENNY FERNANDEZ,

                                  Plaintiff,
 v.                                                           ORDER

 THE OSBORN SENIOR LIVING, et al.,                            No. 23-CV-00115 (PMH)

                                    Defendants.
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PHILIP M. HALPERN, United States District Judge:

        The Court has been informed that the Parties have reached a settlement in principle in this

case. Accordingly, it is hereby ORDERED that this action is dismissed without costs and without

prejudice to restoring the action to the Court’s calendar, provided the application to restore the

action is made within forty-five (45) days of this Order. Any application to reopen filed after forty-

five (45) days from the date of this Order may be denied solely on that basis. Any pending motions

are DISMISSED as moot, and all conferences are CANCELED.


Dated: White Plains, New York
       April 17, 2023


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                                                    Philip M. Halpern
                                                    United States District Judge
